
PER CURIAM.
This appeal is from the summary denial of a motion seeking postconviction relief under Florida Rules of Criminal Procedure 3.850. Appellant raised two points in the motion. The allegations in paragraphs one and two that appellant was denied effective assistance of counsel, and coercion of his plea, if true, would entitle appellant to relief. The trial court, however, failed to either conduct an evidentiary hearing or attach portions of the record which refute those allegations.
Accordingly, we reverse the trial court’s denial of appellant’s motion and remand the case to the trial court. On remand, the trial court may either again summarily deny the motion as to the allegations specified, and attach to its order those portions of the record which conclusively show that appellant is not entitled to relief, or hold an evidentiary hearing and then rule on the grounds alleged in the motion. See Fla.R. Crim.P. 3.850; see also Jones v. State, 421 So.2d 55 (Fla. 1st DCA 1982), and Van Bever v. State, 405 So.2d 474 (Fla. 5th DCA 1981). To obtain further review, any aggrieved party must appeal the new ruling of the trial court.
Therefore, the order appealed from is REVERSED and the cause is REMANDED for further proceedings consistent with this opinion.
DANAHY, A.C.J., and SCHOONOVER and LEHAN, JJ., concur.
